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                                    OFFICE OF THE ATTORNEY GENERAL
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BARBARA D. UNDERWOOD                                                                               DIVISION OF ST A TE COUNSEL
 ATTORNEY GENERAL                                                                                           LITIGATION BUREAU



     December 14, 2018

                                               Writer's Direct Dial: {212) 416-8108

                                                Application granted. The State Defendants shall file their motion to
     ByECF                                      dismiss no later than January 31, 2019. Opposition papers shall be
                                                filed no later t n February 14, 2019. Reply papers shall be filed no
     The Honorable Ronnie Abrams                later than F ruary      2019. SO ORDERED.
     United States District Court
     Southern District of New York
     40 Foley Square                            Ron . A      s, U.S.D.J.
     New York, New York 10007                   December 17, 2018

             Re:      Asensio v. Judge DiFiore, etaL, No. 1:18-cv-10933-RA

     Dear Judge Abrams:

            This Office represents the State defendants-Chief Judge Janet DiFiore, Attorney
     General Barbara D. Underwood, Governor Andrew M. Cuomo, and Judge Adetokunbo 0.
     Fasanya-in the above-referenced action. In accordance with Section l.D. of Your Honor's
     Individual Rules & Practices in Civil Cases, we write to respectfully request an extension until
     January 31, 2019, of the defendants' time to respond to the complaint in this action.
             On November 26, 2018, Plaintiff prose Manuel Asensio served his Complaint (ECF No.
     1) on the defendants in this action. Under Federal Rules of Civil Procedure 12(a)(l)(B), the
     defendants' response to the complaint is due on December 17, 2018. We respectfully request that
     the defendants be given an additional 45 days to respond to the complaint, until January 31, 2019.
     This is the defendants' first request for an extension of this deadline. The requested extension
     will not affect any other scheduled dates in this action. I emailed Asensio twice asking whether he
     consented to this request. He initially responded that he needed further information concerning
     my communications with my clients "[i]n order to promptly consider [the] request," and later
     informed me that he intended to move for "expedited review and parental access."
             Given Asensio's extensive litigation history, as well as the numerous grounds militating
     dismissal of this action, we respectfully seek this additional time to prepare a motion to dismiss on
     behalf of the State Defendants.



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                                                       www.ag.ny.gov
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                                         Plaintiff's Allegations
        This lawsuit emanates from an acrimonious post-divorce custody proceeding pending
between Asensio and his (now) ex-wife in New York City Family Court. See Bosak v. Asensio,
Docket No. F-31461/14A/14B/14C/16D (N.Y. Fam. Ct. N.Y. Cnty.). Over the course of this
custody proceeding, the Family Court, the Honorable Adetokunbo Fasanya has issued a number
of interlocutory orders directing Asensio to pay child-support and attorneys' fees, and-after
Asensio refused to pay those fees-sanctioning him for defying court orders. Asensio has brought
numerous lawsuits in state court challenging their legality, none of which has been successful.
        While Asensio raises the same claims here as he did in those prior lawsuits, his list of
grievances has grown in scope and complexity. Indeed, what began as a lawsuit challenging
judicial orders in New York City Family Court has transformed into a full-throated repudiation of
New York's entire judicial system, complete with allegations of a vast conspiracy implicating the
highest echelons of New York's executive and judicial branches. Asensio alleges that Governor
Cuomo, Attorney General Underwood, and ChiefJudge Difiore have conspired with 119 New
York judges to violate his constitutional rights by failing to vacate certain judicial orders in his
Family Court proceeding. As remuneration, Asensio seeks-in addition to a stay of his
underlying custody proceeding-an order awarding him approximately $195,000,000 in
compensatory and punitive damages. See Campi. <[f<[f 62-65.
        Although this appears to be his first action filed in the federal courts, Asensio has a long
history with the New York State court system. In the last two years, Asensio "has commenced at
least eight separate actions and proceedings challenging the underlying Family Court
proceedings," Matter ofAsensio v. Magistrate Rosario, Index No. 158837 /2017 (Sup. Ct. N.Y. Cnty.
June 8, 2018). All were dismissed on the merits, and all of his appeals have been unsuccessful. 1
        Indeed, due to Asensio's numerous meritless filings, on June 8, 2018, the Supreme Court
of New York issued an order barring Asensio from bringing any further litigation challenging his
underlying Family Court proceeding without prior permission. Id. Stymied by the filing
injunction at the state level, Asensio has decided to switch forums, and now seeks recourse here.
         But he will fare no better in this Court. Notwithstanding his hyperbolic language, Asensio
fails to state a claim. The facts and the law show that the claims reasserted here are just as
meritless as those dismissed by numerous other courts and, indeed, are barred by the dismissal of
those claims.
                               State Defendants' Anticipated Motion to Dismiss

        In light of these allegations, Defendants anticipate moving to dismiss on numerous


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   By Asensio's own count, he has (unsuccessfully) petitioned the Appellate Division 21 times since
December 2016 to stay the underlying Family Court proceedings. See, e.g., Aff. ofJames Cooney Ex. A
'If 8, NYSCEF Doc. No. 95, Asensio v. Fasanya, Index No. 158833/2017 (Sup. Ct. N.Y. Cnty). See also,
Asensio v. Bannon, 30 N.Y.3d 1094 (N.Y. 2018); Asensio v. Marks, 30 N.Y.3d 1095 (N.Y. 2018); Asensio v.
Fasanya, 30 N.Y.3d 1095 (N.Y. 2018); Asensio v. Bannon, 30 N.Y.3d 912 (N.Y. 2018); Asensio v. Marks, 157
A.D.3d 456 (1st Dep't 2018); Asensio v. Bannon, 155 A.D.3d 565 (1st Dep't 2017).
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grounds, including Asensio' s failure to meet the pleading standard set forth in Iqbal/Twombly.
Further, the complaint is riddled with substantive and procedural deficiencies warranting
dismissal, including:

    •   Asensio's claims against all the defendants are barred under the domestic-relations
        exception. Hamilton v. Hamilton-Grinols, 363 F. App'x 767, 769 (2d Cir. 2010)
        (recognizing that the domestic-relations exception divests federal courts of jurisdiction in
        cases involving divorce, alimony, and child custody).
    •   Asensio' s claims against all of the defendants are barred under the Rooker-Feldman
        doctrine. See Hoblock v. Albany Cnty. Bd. ofElections, 422 F.3d 77, 84 (2d Cir. 2015) (the
        Rooker-Feldman doctrine stands for the "clear principle that federal courts lack
        jurisdiction over suits that are, in substance, appeals from state-court judgments.").
    •   Asensio' s claims against all of the defendants are barred under the Younger abstention
        doctrine. See) e.g., Kaufman v. Kaye, 466 F.3d 83, 86 (2d Cir. 2006) ("a federal district
        court has no power to intervene in the internal procedures of the state courts").
    •   Asensio' s claims against all of the defendants are barred by issue preclusion. See) e.g.,
        Latino Officers Assoc. v. City ofN.Y., 253 F. Supp. 2d 771, 783 (S.D.N.Y. 2003) (under New
        York law, parties cannot relitigate in a later action or proceeding an issue clearly raised in a
        prior action or proceeding and decided against that party).
    •   Asensio' s claims for money damages against the State defendants are barred by the
        Eleventh Amendment. See U.S. Const., amend. XI; N.Y. State Court Clerks Ass)n v.
        Unified Court Sys., 25 F. Supp. 3d 459,467 (S.D.N.Y. 2014).
    •   Asensio's claims against Chief Judge Difiore and Judge Fasanya are barred by absolute
        judicial immunity. See) e.g., Bliven v. Hunt, 579 F.3d 204,209 (2d Cir. 2009).
    •   Asensio's claims for injunctive relief against Judge Fasanya are barred under the Federal
        Courts Improvement Act of 1996. See Federal Courts Improvement Act of1996, § 309(c),
        Pub. L. No. 104-317, 110 Stat. 3847, 3853 (1996) (amending 42 U.S.C. § 1983 to give
        immunity to judges acting in their official capacity).

       In light of the foregoing, we respectfully seek a 45-day extension of the deadline to file a
motion to dismiss.


                                               Respectfully submitted,


                                                s
                                               Jonathan D. Conley
                                               Assistant Attorney General

cc (by ECF):   Manuel Asensio
